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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
             vs.                            )                8:05CR162
                                            )
GENARO FAVALA RAMIREZ,                      )                  ORDER
                                            )
                    Defendant.              )


       Defendant’s Motion to Continue (Filing No. 209) is granted.
       The hearing on the Motion to Dismiss (Filing No. 106) is continued to 1:30 p.m. on
September 12, 2006, in Courtroom No. 7, Second Floor, Roman L. Hruska United States
Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 6th day of September, 2006.


                                         BY THE COURT:


                                         s/ Thomas D. Thalken
                                         United States Magistrate Judge
